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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION
                                    www.flmb.uscourts.gov

In re:                                                         Case No. 2:23-bk-00373-FMD
                                                               Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/

                          H2O INVESTMENT PROPERTIES, LLC’S
                          MOTION TO MODIFY CONFIRMED PLAN
                                 (Related Doc. Nos. 90, 113)

                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

         If you object to the relief requested in this paper you must file a response with the
         Clerk of Court at Sam Gibbons United States Courthouse, 801 N. Florida Avenue,
         Suite 555, Tampa, Florida 33602-3899 within twenty-one days from the date of the
         attached proof of service, plus an additional three days from the date of the attached
         proof of service, plus an additional three days if this paper was served on any party
         by U.S. Mail.

         If you file and serve a response within the time permitted, the Court will either notify
         you of a hearing date or the Court will consider the response and grant or deny the
         relief requested in this paper without a hearing. If you do not file a response within
         the time permitted, the Court will consider that you do not oppose the relief requested
         in the paper, and the Court may grant or deny the relief requested without further
         notice or hearing.

         You should read these papers carefully and discuss them with your attorney if
         you have one. If the paper is an objection to your claim in this bankruptcy case,
         your claim may be reduced, modified, or eliminated if you do not timely file and
         serve a response.


         H2O Investment Properties, LLC, by and through the undersigned legal counsel, pursuant

to sections 105(a) and 1193(c) of Title 11 of the United States Code (“Bankruptcy Code”), files

this Motion to Modify Confirmed Plan and, as grounds therefor, respectfully states the

following:
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                                         JURISDICTION

        1.      The United States District Court for the Middle District of Florida (this “Court”)

is the proper venue for the above-captioned Chapter 13 bankruptcy case (this “Case”) pursuant to

28 U.S.C. §§ 89(b), 1408(1), and 1409. This Court’s Fort Myers Division is the appropriate place

to hold court for the Case pursuant to Local Rule 1071-1(b)(4).

        2.      Consideration of this Motion is a core proceeding under 28 U.S.C. § 157(b)(2),

and the statutory bases for this Motion include Bankruptcy Code sections 105(a) and 1193(c).

                                         BACKGROUND
        3.      The Debtor owns that certain real property, located at 30620 SW Rose Lane,

Wilsonville, Oregon 97070 (the “Real Property”). The Real Property is more precisely described

as follows:

                Lot 2, Buck’s Landing, in the City of Wilsonville, County of
                Clackamas and State of Oregon as recorded in Plat Book 120,
                Page 8, of the Public Records of Clackamas County, Oregon.

        4.      The Debtor incorporates its Amended Expedited Motion to Enforce the Automatic

Stay and for Fees, Costs, and Damages Against (I) The Bank of New York Mellon fka the Bank

of New York as Trustee for the Certificate Holders of the CWALT, Inc., Alternative Loan Trust

2007-OA4 Mortgage Passthrough Certificates, Series 2007-OA4, and ZBS Law, LLP as Counsel

for Same, and (II) Planet Home Lending, LLC, as Servicer for BCMB1 Trust (Doc. No. 132)

(“Motion for Damages”) as though entirely set forth herein.

        5.      On April 2, 2023 (the “Petition Date”), the Debtor filed its voluntary petition for

small business debtor reorganizational relief under Chapter 11, Subchapter V of the Bankruptcy

Code.
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        6.      On August 11, 2023, the Debtor filed its First Amended Plan of Reorganization

for Small Business Under Chapter 11, Subchapter V (Doc. No. 90) (“Plan”). The Plan provides

that, within sixty (60) days from its effective date, the Debtor must refinance the Real Property,

or will otherwise be forced to surrender the Real Property. Plan at 3.

        7.      On September 18, 2023, this Court entered its Order (I) Confirming First

Amended Plan of Reorganization for Small Business Under Chapter 11, Subchapter V, as

Further Amended and Modified Herein; and (II) Setting Post-Confirmation Status Conference

(Doc. No. 113) (“Confirmation Order”). The Confirmation Order confirmed the Plan, as

modified therein, pursuant to Bankruptcy Code section 1191(b). See generally Confirmation

Order. Specifically, the Confirmation Order provided, in relevant part, as follows:

                 “As provided for in the Plan, in the event that either the the [sic]
                Wilsonville Property or the West Linn Property is deemed
                surrendered, the Creditors holding secured claims against such
                property will not have any in personam recourse against the Debtor
                or the estate on account of their claims and the automatic stay shall
                be deemed modified in favor of such creditors.”
Id. at 9, ¶ 5 (alterations added).

        8.      In furtherance of its goal of obtaining a loan to refinance (the “Wilsonville

Loan”)—rather than surrendering—the Real Property, the Debtor scheduled an appraisal thereof

for November 13, 2023.

        9.      The Bank of New York Mellon fka the Bank of New York as Trustee for the

Certificate Holders of the CWALT, Inc., Alternative Loan Trust 2007-OA4 Mortgage

Passthrough Certificates, Series 2007-OA4 (the “Bank”) 1 obtained a Writ of Execution from the

Circuit Court of the State of Oregon for the County of Clackamas. Pursuant to the Writ, the



1
 The Bank was noticed, referenced, and treated in the Plan as “Shellpoint,” though the Bank’s
Proof of Claim No. 4 requested notice to NewRez LLC d/b/a Shellpoint Mortgage Servicing.
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Clackamas County Sheriff (“Sheriff”) issued a “Notice of Sheriff’s Sale (Real Property)”

(“Notice of Sale”). The Notice of Sale provided that the Sheriff would hold a sheriff’s sale

(“Sheriff’s Sale”) on September 6, 2023 to sell the Real Property.

       10.     After the Petition Date, the Bank and its Oregon counsel, ZBS Law, LLP

(“Bank’s Counsel”), repeatedly refused to cancel the Sheriff’s Sale, affirmatively taking the step

of rescheduling the Sheriff’s Sale to be held in December 2023. See generally Motion for

Damages.

       11.     BCMB1 Trust (“BCMB1”) placed lockboxes on the Real Property on multiple

occasions after the Petition Date, preventing the appraisal scheduled November 13, 2023. Id. The

acts and omissions by the Bank, Bank’s Counsel, and BCMB1 prevented the Debtor from

obtaining the Wilsonville Loan within the timeframe set forth by the Plan.

       12.     On December 1, 2023, the Debtor filed its Motion for Damages, seeking relief as

a result of the actions and omissions by the Bank, Bank’s counsel, and BCMB1.

       13.     The Debtor continues to operate its business as a debtor in possession pursuant to

Bankruptcy Code section 1184. No creditors’ or equity security holders’ committees have been

appointed in this Case.

                                    RELIEF REQUESTED
       14.     The Debtor respectfully requests this Court enter an order: (i) granting this

Motion; (ii) modifying the Plan by incorporating the modifications described below (the

“Proposed Modifications”); and (iii) granting the Debtor such other and further relief as this

Court deems just and proper.
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                      PROPOSED MODIFICATIONS

15.   The Proposed Modifications are as follows:

      a.     REPLACE the following sentence from Page 3 of the Plan:

      “The Debtor anticipates that the Wilsonville Loan will close within
      Sixty (60) days from the Effective Date.”
      WITH

      “The Debtor anticipates that the Wilsonville Loan will close within
      One Hundred Five (105) days from the Effective Date.”
      b.     REPLACE the following sentence from Page 3 of the Plan:

      “In the event that the Debtor is unable to close the Wilsonville Loan
      on or before the Sixtieth (60th) day from the Effective Date, the
      Debtor will surrender the Wilsonville Property and the automatic
      stay will be deemed modified to allow the Wilsonville Creditors to
      foreclose on, or take any other actions to enforce their rights to, the
      Wilsonville Property.”
      WITH

      “In the event that the Debtor is unable to close the Wilsonville Loan
      on or before the One Hundred Fifth (105th) day from the Effective
      Date, the Debtor will surrender the Wilsonville Property and the
      automatic stay will be deemed modified to allow the Wilsonville
      Creditors to foreclose on, or take any other actions to enforce their
      rights to, the Wilsonville Property.”
      c.     REPLACE ALL instances of the following sentence fragment:

      “Within Sixty (60) days of the Effective Date,”
      WITH

      “Within One Hundred Five (105) days of the Effective Date,”
      d.     INSERT the following sentence into Page 7 of the Plan:

      “In addition to any other changes and limitations set forth in this
      Plan, the Agreed Order Granting BCMB1 Trust’s Amended Motion
      for Prospective Relief from the Automatic Stay Pursuant to 11
      U.S.C. § 362(D)(4)(A) [D.E. 52] Effective 60 Days from the Plan’s
      Effective Date and Granting Adequate Protection (Doc. No. 101)
      shall be deemed modified so that all references to ‘60 days’ shall be
      replaced with ‘105 days.’”
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                e.     REPLACE the following sentence from Page 6 of the Plan:

                “Similarly, the Debtor has committed to either pay the Wilsonville
                creditors in full by way of the Wilsonville Loan, or abandon such
                property if the Wilsonville Loan does not close within Sixty (60)
                days from the Effective Date.”
                WITH

                “Similarly, the Debtor has committed to either pay the Wilsonville
                creditors in full by way of the Wilsonville Loan, or abandon such
                property if the Wilsonville Loan does not close within One
                Hundred Five (105) days from the Effective Date.”
                              BASES FOR RELIEF REQUESTED
        16.     This Court should grant this Motion because the actions and omissions described

herein, and in the Motion for Damages, have rendered compliance with the unmodified Plan

impossible, and the modifications are appropriate to ensure the greatest possible distribution to

creditors.

        17.     Bankruptcy Code section 1193(c) provides as follows:

                “If a plan has been confirmed under section 1191(b) of this title, the
                debtor may modify the plan at any time within 3 years, or such
                longer time not to exceed 5 years, as fixed by the court, but may not
                modify the plan so that the plan as modified fails to meet the
                requirements of section 1191(b) of this title. The plan as modified
                under this subsection becomes the plan only if circumstances
                warrant such modification and the court, after notice and a hearing,
                confirms such plan, as modified, under section 1191(b) of this title.”
11 U.S.C. § 1193(c).

        18.     The Wilsonville Loan can still be obtained within weeks, despite the actions and

omissions alleged in the Motion for Damages. The Debtor’s creditors and estate should not be

harmed as a result of the actions and omissions identified in the Motion for Damages. Extending

the deadline by forty-five (45) days—or such other time this Court deems just and proper—for

the Debtor to close on the Wilsonville Loan will allow junior lien creditors the opportunity to

receive substantially larger distributions than they would receive if the Real Property was
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surrendered. The Plan, as modified, complies with Bankruptcy Code section 1191(b).

Accordingly, this Court should grant this Motion.

       WHEREFORE, the Debtor respectfully requests this Court enter an enter an order: (i)

granting this Motion; (ii) modifying the Plan by incorporating the Proposed Modifications; and

(iii) granting the Debtor such other and further relief as this Court deems just and proper.

Dated: December 1, 2023                             Respectfully submitted,

                                                    DAL LAGO LAW
                                                    999 Vanderbilt Beach Road
                                                    Suite 200
                                                    Naples, FL 34108
                                                    Telephone: (239) 571-6877

                                                    By: /s/ Christian Garrett Haman
                                                    MICHAEL R. DAL LAGO
                                                    Florida Bar No. 102185
                                                    Email: mike@dallagolaw.com
                                                    CHRISTIAN GARRETT HAMAN
                                                    Florida Bar No. 1017079
                                                    Email: chaman@dallagolaw.com
                                                    JENNIFER M. DUFFY
                                                    Florida Bar No. 1028911
                                                    Email: jduffy@dallagolaw.com

                                                    Counsel for H2O Investment Properties, LLC,
                                                    Debtor and Debtor in Possession
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                                CERTIFICATE OF SERVICE

       I CERTIFY that on this 1st day of December 2023, a true and correct copy of the

foregoing shall be electronically served: (i) through this Court’s CM/ECF Noticing system upon

entry to all parties registered for service including: United States Trustee – FTM, 501 E. Polk

Street, Suite 1200, Tampa, Florida 33602, Michael C. Markham, Subchapter V Trustee, 401

E. Jackson Street, Suite 3100, Tampa, FL 33602, Wanda D. Murray, Bankruptcy Counsel for

The Bank of New York Mellon fka the Bank of New York as Trustee for the Certificate

Holders of the CWALT, Inc., Alternative Loan Trust 2007-OA4 Mortgage Passthrough

Certificates, Series 2007-OA4, Aldridge Pite, LLP, Six Piedmont Center, 3525 Piedmont

Road, N.E., Suite 700, Atlanta, Georgia 30305, and Melbalynn Fisher, Esq., Counsel for

Planet Home Lending, LLC, as Servicer for BCMB1 Trust, Ghidotti | Berger, LLP, 1031

North Miami Beach Blvd., North Miami Beach, FL 33162; and (ii) via First Class U.S. Mail to

all those on the attached mailing matrix who are not represented by counsel.


                                                    /s/ Christian Garrett Haman
                                                    CHRISTIAN GARRETT HAMAN
                                                    Florida Bar No. 1017079
                             Case 2:23-bk-00373-FMD          Doc 133       Filed 12/01/23     Page 9 of 10
Label Matrix for local noticing                Caryl E. Delano                                 H2O Investment Properties LLC
113A-2                                         Tampa                                           999 Vanderbilt Beach Road
Case 2:23-bk-00373-FMD                         , FL                                            Suite 200
Middle District of Florida                                                                     Naples, FL 34108-3512
Ft. Myers
Fri Dec 1 15:46:11 EST 2023
UMB Bank, National Association, not in its i   Arbor Village Homeowners Assoc                  BCMB1 Trust -
Greenspoon Marder LLP                          c/o CA Partners                                 Planet Home Lending, LLC
c/o Lindsey Savastano, Esq.                    PO Box 3460                                     321 Research Parkway, Suite 303
100 West Cypress Creek Rd., Suite 700          Portland, OR 97208-3460                         Meriden CT 06450-8342
Fort Lauderdale, FL 33309-2195

Brilliant Homes LLC                            Citadel Servicing Corp                          Citadel Servicing Corp
4035 SE 52ND AVE STE A                         3 Ada Parkway                                   3220 El-Camino Real
Portland, OR 97206-3913                        Suite 200A                                      Irvine, CA 92602-1377
                                               Irvine, CA 92618-2322


City of Oregon City                            Clackamas County Service District               Clackamas County Tax Collector
625 Center Street                              Water / Sewer Dept                              Real Estate taxes
Oregon City, OR 97045-2253                     150 Beavercreek Road #430                       2051 Kaen Rd
                                               Oregon City, OR 97045-4302                      Oregon City, OR 97045-4035


DJ Property Solutions, LLC                     Deem Realty Funding Inc                         Department of Revenue
1444 E Center St                               525 B Street                                    PO Box 6668
Springville, UT 84663-2138                     Salt Lake City, UT 84103-2547                   Tallahassee FL 32314-6668



Greenspoon Marder LLP                          Gretchen Pan & Zianghua ’Ed’ Pan                Internal Revenue Service
c/o Trustee Corps                              c/o Troy G. Sexton, Esq.                        P.O. Box 7346
17100 Gillette Avenue                          117 SW Taylor, Ste 300                          Philadelphia, PA 19101-7346
Irvine, CA 92614-5603                          Portland, OR 97204-3029


Loan Processing Servicing Corp                 NewRez LLC d/b/a Shellpoint Mortgage Servici    (p)OREGON STATE CREDIT UNION
19528 Ventura Blvd , #502                      c/o Wanda D. Murray                             PO BOX 306
Tarzana, CA 91356-2917                         Aldridge Pite, LLP                              CORVALLIS OR 97339-0306
                                               Six Piedmont Center
                                               3525 Piedmont Road, N.E., Suite 700
                                               Atlanta, GA 30305-1608
Planet Home Lending                            Quality Loan Service Corp of Washington         Shell Point Mortgage Services
321 Research Pkwy #303                         108 1st Ave S, Seattle                          2100 E Elliot Rd, Ste A
Meriden, CT 06450-8342                         Seattle, WA 98104-2538                          Tempe , AZ 85284-1806



THE BANK OF NEW YORK MELLON -                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON FKA THE BANK OF
FKA THE BANK OF NEW YORK                       FKA THE BANK OF NEW YORKK                       c/o NewRez LLC d/b/a Shellpoint Mortgage
NewRez LLC                                     NewRez LLC                                      P.O. Box 10826
d/b/a Shellpoint Mortgage Servicing            d/b/a Shellpoint Mortgage Servicing             Greenville SC 29603-0826
P.O. Box 10826                                 P.O. Box 10826
Greenville, SC 29603-0826                      Greenville, SC 29603-0826
Trustee Corps                                  UMB Bank, National Association                  Umpqua Bank -
606 W. Gowe Street                             c/o Lindsey Savastano, Esq.                     707 West Main St
Kent, WA 98032-5744                            100 West Cypress Creek Rd., Suite 700           PO Box 2224
                                               Fort Lauderdale, FL 33309-2195                  Spokane , WA 99210-2224
                            Case 2:23-bk-00373-FMD                 Doc 133       Filed 12/01/23         Page 10 of 10
Benjamin E. Lambers +                                 United States Trustee - FTM +                        Lindsey A Savastano +
Timberlake Annex                                      Timberlake Annex, Suite 1200                         Greenspoon Marder LLP
501 E. Polk Street, Suite 1200                        501 E. Polk Street                                   Trade Centre South
Tampa, FL 33602-3945                                  Tampa, FL 33602-3949                                 100 West Cypress Creek Road
                                                                                                           Ste 700
                                                                                                           Fort Lauderdale, FL 33309-2195
Michael R Dal Lago +                                  Melbalynn Fisher +                                   Wanda D Murray +
999 Vanderbilt Beach Road, Suite 200                  Ghidotti & Berger LLP                                Aldridge Pite, LLP
Naples, FL 34108-3512                                 1031 North Miami Beach Boulevard                     Six Piedmont Center
                                                      North Miami Beach, FL 33162-3842                     3525 Piedmont Road, N.E.
                                                                                                           Ste 700
                                                                                                           Atlanta, GA 30305-1608
Christian G Haman +                                   Jennifer M Duffy +                                   Michael C Markham +
Dal Lago Law                                          Dal Lago Law                                         401 E. Jackson Street
999 Vanderbilt Beach Road, Suite 200                  999 Vanderbilt Beach Road, Suite 200                 Ste 3100
Naples, FL 34108-3512                                 Naples, FL 34108-3512                                Tampa, FL 33602-5228




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Oregon State Credit Union
PO Box 306
Corvallis, OR 97339




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u) BCMB1 Trust                                       (u)NewRez LLC d/b/a Shellpoint Mortgage Servi        (u)Terry Sprague
                                                                                                           Luxe Forbes Global Properties




(u)The Bank of New York Mellon fka the Bank o         (d)Citadel Servicing Corporation -                   (d)Deem Realty Funding Inc.
                                                      3 Ada Parkway, Suite 200A                            525 B Street
                                                      Irvine, CA 92618-2322                                Salt Lake City, UT 84103-2547



(u)Jennifer Sirrine                                   (u)Naples Business Suites LLC                        (u)bank
                                                      Concierge Executive Offices
                                                      999 Vanderbilt Beach Road, Ste 200



(d)Michael C Markham +                                (u)Note: Entries with a ’+’ at the end of the        End of Label Matrix
401 E. Jackson Street                                 name have an email address on file in CMECF          Mailable recipients   38
Ste 3100                                              -------------------------------------------          Bypassed recipients   11
Tampa, FL 33602-5228                                  Note: Entries with a ’-’ at the end of the           Total                 49
                                                      name have filed a claim in this case
